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                                   EXHIBIT B



1. Short Form for Stir the Pot, LLC and Billy Fox
2. Short Form for J. Gumbo’s, LLC and Catherine Duvio
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      Fox                         Billy

         502-930-0791                           BillyF@JGumbos.com
    2011 Franfort Ave                             Louisville, KY

                        X                                      X

        Stir the Pot LLC                     Stir the Pot LLC  (AKA J. Gumbo
             CEO                                                Cajun Joint)
                                               Restaurant Franchiser and Supplier
        1334 Story Avenue               1334 Story Avenue
        Louisville, KY 40206                   Louisville, KY 40206
                                                                   xx-xxx6683
                   xxx-xx- 1996
       F. Gerald Maples                             F. Gerald Maples, P.A.
    365 Canal Street; Suite 2650                      New Orleans, LC 70130

            (504) 569-8732                       federal@fgmapleslaw.com

                                                           X

                                                          1611969


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 Stir the Pot LLC is the franchiser for 5 seafood restaurant locations in the
 New Orlean's area. One franchise in Orleans Parish, one in Jefferson
 Parish, one in St. Bernard Parish, and two in St. Tammany Parish. All
 locations were relatively new enterprises with great growth potential.
 The loss of four of the five locations post spill was directly attributable
 to the oil spill. The franchiser lost 6% of royalty revenue ($51,816 x 5),
 loss of food supplied to each site ($249,600 x 5) and loss of franchise
 renewals $5,000 X 5). The lost profit from these revenues is over $600,000.
    The loss of this income directly affects my income and my ability to
  cultivate new franchises. The remaining location continues with all my fees
 suspended in an attempt to salvage that location and mitigate damage to the
brand.
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 X




F. Gerald Maples

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Duvio                              Catherine             Jean
(504) 682-9290                                 duvioc@cox.net
3224 Rue Chenal                                Meraux, LA 70075
                               ✔                                             ✔

J. Gumbo's, LLC                                 J. Gumbo's, LLC
Seafood Restaurant                              Seafood Restaurant
1169 Robert Blvd., Suite I                      1169 Robert Blvd., Suite I
Slidell, LA 70458                               Slidell, LA 70458
XXX-XX-XXXX                                     XX-XXXXXXX

F. Gerald Maples                               F. Gerald Maples, P.A.
365 Canal Street, Suite 2650                   New Orleans, LA 70130
(504) 569-8732                                 gmaples@geraldmaples.com
                                                                      X

                                                                         XX-XXXXXXX


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Please fill out #1 on this page.




 In December, 2009, we purchased a business permit to open a seafood business and began
 construction. The business opened May 25, 2010 a few weeks after the explosion. Based
 on franchise projections, visits to other locations, the estimated daily sales ranged from
 $800 to $1,000. The business location had good traffic flow located near hospitals,
 businesses and residential communities (prime location). In September, 2010 a claim for
 loss of business in the amount of $85,000 for first 3 months was filed. BP agreed to the
 loss and paid $85,000. Effects of business: The name J. Gumbo (gumbo) is affiliated with
 seafood... customers refused to eat seafood after the oil spill. We lost our investment of
 $129,000 not including $46,000 owed to subcontractors. End result: closed business in
 March, 2011. Loss of profit not paid by BP $170,000, $129,000 investment and $46,000
 owed to subcontractors. Total claim $345,000.
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x




     F. Gerald Maples


     04-17-2012
